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         EXHIBIT 15
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                                                                                                                                                    1. CONTRACT ID CODE                      PAGE OF P AGES
      AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT                                                                                                           J                              1           5
2. AMENDMENT/MODIFICATION NO.                                3. EFFECTIVE DATE           4. REQUISITION/PURCHASE REQ. NO.                                                    5. P ROJECT NO.(If applicable)

                                                                 23-Sep-2019             W45XMA91224061
                   $
6. ISSUED BY                                    CODE         W9126G                      7. ADMINISTERED BY (If other than item 6)                                 CODE           967457
                                                                                            EL PASO RESIDENT OFFICE
  US ARMY CORPS OF ENGINEERS FORT WORTH                                                     8037 LOCKHEED AVE, STE 203, BOX 3
  819 TAYLOR ST, CT OFC RM 2A17                                                             EL PASO TX 79925
  FORT WORTH TX 76102-0300




8. NAME AND ADDRESS OF CONTRACTOR (No., Street, County, State and Zip Code)                                                                    9A. AMENDMENT OF SOLICITAT ION NO.
   KOMAN CONSTRUCTION, LLC
   MATTHEW YATES
   2700 GAMBELL ST STE 401
                                                                                                                                               9B. DATED (SEE IT EM 11)
   ANCHORAGE AK 99503-2833

                                                                                                                                          X 10A. MOD. OF CONTRACT/ORDER NO.
                                                                                                                                            W9126G19C0025
                                                                                                              10B. DAT ED (SEE ITEM 13)
CODE       7K6A5                                                 FACILIT Y CODE                           X 06-May-2019
                                                         11. THIS ITEM ONLY APPLIES TO AMENDMENTS OF SOLICIT AT IONS
    The above numbered solicitation is amended as set forth in Item 14. The hour and date specified for receipt of Offer                       is extended,                    is not extended.

     Offer must acknowledge receipt of this amendment prior to the hour and date specified in the solicitation or as amended by one of the following methods:
     (a) By completing Items 8 and 15, and returning              copies of the amendment; (b) By acknowledging receipt of this amendment on each copy of the offer submitted;
     or (c) By separate letter or telegram which includes a reference to the solicitation and amendment numbers. FAILURE OF YOUR ACKNOWLEDGMENT TO BE
     RECEIVED AT THE PLACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULT IN
     REJECTION OF YOUR OFFER. If by virtue of this amendment you desire to change an offer already submitted, such change may be made by telegram or letter,
     provided each telegram or letter makes reference to the solicitation and this amendment, and is received prior to the opening hour and date specified.

12. ACCOUNT ING AND APPROPRIATION DATA (If required)
     See Schedule
                                           13. T HIS IT EM APPLIES ONLY TO MODIFICATIONS OF CONTRACT S/ORDERS.
                                               IT MODIFIES THE CONT RACT/ORDER NO. AS DESCRIBED IN ITEM 14.
   A. THIS CHANGE ORDER IS ISSUED PURSUANT TO: (Specify authority) THE CHANGES SET FORT H IN ITEM 14 ARE MADE IN THE
      CONT RACT ORDER NO. IN ITEM 10A.

  B. THE ABOVE NUMBERED CONT RACT/ORDER IS MODIFIED TO REFLECT T HE ADMINISTRATIVE CHANGES (such as changes in paying
     office, appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANT T O T HE AUT HORITY OF FAR 43.103(B).
X C. THIS SUPPLEMENTAL AGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OF:
  FAR 52.243-4 CHANGES
  D. OTHER (Specify type of modification and authority)

E. IMPORTANT: Contractor                       is not,       X     is required to sign this document and return                 1         copies to the issuing office.

14. DESCRIPT ION OF AMENDMENT/MODIFICATION (Organized by UCF section headings, including solicitation/contract subject matter
    where feasible.)
    Modification Control Number: l4eccgf9191948
 A00006
 C00008 Water Heaters
 C00011 Add Water Coolers




Except as provided herein, all terms and conditions of the document referenced in Item 9A or 10A, as heretofore changed, remains unchanged and in full force and effect.
15A. NAME AND TITLE OF SIGNER (Type or print)                                                 16A. NAME AND TITLE OF CONTRACTING OFFICER (Type or print)

  5REHUW.\UNOXQG([HFXWLYH3URJUDP0DQDJHU
  5REHUW.\UNOXQG  ([HFXWLYH3URJUDP0
                                                                                                 Guillermo Provencio, P.E., Administrative Contracting Officer
                                                                                              TEL:                                               EMAIL:

15B.
  B. CONTRACT OR/OFFEROR                                      15C. DATE SIGNED                16B. UNIT ED ST ATES OF AMERICA                                                         16C. DAT E SIGNED
                                                                                                                                         Digitally signed by

                                                                                                                                                                                          20190924
                                                                                                                                         PROVENCIO.GUILLERMO.1217880048
                                                                                              BY                                         Date: 2019.09.24 17:33:25 -06'00'

   (Signature of person authorized to si
                                      sign)                                                  (Signature of Contracting Officer)
EXCEPTION TO SF 30                                                                    30-105-04                                                                   STANDARD FORM 30 (Rev. 10-83)
APPROVED BY OIRM 11-84                                                                                                                                            Prescribed by GSA
                                                                                                                                                                  FAR (48 CFR) 53.243
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SECTION SF 30 BLOCK 14 CONTINUATION PAGE

SUMMARY OF CHANGES


SECTION SF 30 - BLOCK 14 CONTINUATION PAGE (SF 30)



The following have been added by full text:
     A00006 C00008 C00011
A. SCOPE OF WORK

00008 Water Heaters Janitor & Staff Bathrooms
Provide Design, supervision, labor, material, and equipment to provide hot water for the Janitor
Closet (JC) and for each of the three (3) Staff Bathrooms in the holding building.

00011 Add Water Coolers
Refer to Sketch "SKT-01_CR_00011 Add Water Coolers_15Aug19.pdf", dated 15 Aug 2019
and provide design, supervision, labor, and equipment for the addition of two (2) drinking water
fountains (DF) by manufacturer ELKAY model number EZS8L or ELKAY model number
LJNE8K and necessary appurtenances.

B. CHANGE IN CONTRACT DRAWINGS

00008 Water Heaters Janitor & Staff Bathrooms
It is understood and agreed that the contract drawings affected by this Modification will be
updated to reflect as-built conditions necessitated by this change, and that cost for such updates
are included within this Modification amount.

00011 Add Water Coolers
The attached Sketch "SKT-01_CR_0011 Add Water Coolers_15Aug19.pdf", dated 15 Aug 2019,
provides in part for the changes in this modification and are made a part hereof.

It is understood and agreed that the contract drawings affected by this Modification will be
updated to reflect as-built conditions necessitated by this change, and that cost for such updates
are included within this Modification amount.

C. CHANGE IN CONTRACT SPECIFICATIONS

00008 Water Heaters Janitor & Staff Bathrooms
Material and/or equipment represented by this Modification will be formally submitted for
approval in accordance with the appropriate Specification Section and will be added to the
approved Submittal Register.

00011 Add Water Coolers
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Material and/or equipment represented by this Modification will be formally submitted for
approval in accordance with the appropriate Specification Section and will be added to the
approved Submittal Register.

D. CHANGE IN CONTRACT PRICE

Total contract price is increased by $44,781.17.
New CLINs
0009 Water Heaters Janitor & Staff Toilets                                                     $27,264.22
0010 Add Water Coolers                                                                         $17,516.95

E. CHANGE IN CONTRACT TIME

The Contract completion date shall remain unchanged by this modification.
It is understood and agreed that the contract completion date of 2 December 2019 remains
unchanged as a result of this modification.

F. CHANGE IN CONTRACT SCHEDULE

The following progress schedule activities are added:

NEW
Activity No.: CLIN 0009
Description: Water Heaters for Janitor & Staff Bathrooms
Activity Duration: 45 Days
Cost: $27,264.22

NEW
Activity No.: CLIN 0010
Description: Add Water Coolers
Activity Duration: 40 Days
Cost: $17,516.95

G. CLOSING STATEMENT
It is understood and agreed that pursuant to the above, the contract time is not affected, and the
contract price is increased as stated above, which reflects all credits due the Government and all
debits due the Contractor. It is further understood and agreed that this adjustment constitutes
compensation in full on behalf of the Contractor and its Subcontractors and Suppliers for all
costs and markups directly or indirectly attributable for the change ordered, for all delays
related thereto, for all extended overhead costs, and for performance of the change within the
time frame stated.


SECTION 00 10 00 - SOLICITATION

        The total cost of this contract was increased by $44,781.17 from $22,529,506.13 to $22,574,287.30.
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       CLIN 0009 is added as follows:

ITEM NO    SUPPLIES/SERVICES            QUANTITY           UNIT            UNIT PRICE                  AMOUNT
  0009                                     1                Job             $27,264.22                 $27,264.22
                                                                           Funded Amt:                 $27,264.22

           A00006, C00008 Water Heaters                                                         NAICS CD: 236220
           A00006, C00008 Water Heaters Janitor & Staff Bathrooms                               , FSC CD: 5680



       CLIN 0010 is added as follows:

ITEM NO    SUPPLIES/SERVICES            QUANTITY           UNIT            UNIT PRICE                  AMOUNT
  0010                                     1                Job             $17,516.95                 $17,516.95
                                                                           Funded Amt:                 $17,516.95

           A00006, C00011 Add Water Coolers                                                     NAICS CD: 236220
           A00006, C00011 Add Water Coolers                                                     , FSC CD: 5680



   Accounting and Appropriation

   Summary for the Payment Office

        As a result of this modification, the total funded amount for this document was increased by $44,781.17 from
   $22,529,506.13 to $22,574,287.30.

   CLIN 0009:
   Funding on CLIN 0009 is initiated as follows:

       ACRN: AA

       CIN: W45XMA91224061

       Acctng Data: 096 NA X 2019 3122 000 0000 CCS 999 M2 2019 08 2455 0WDDHS 96412 3230
   2K8J6H23J66C

       Increase: $27,264.22

       Total: $27,264.22

   CLIN 0010:
   Funding on CLIN 0010 is initiated as follows:

       ACRN: AA

       CIN: W45XMA91224061

       Acctng Data: 096 NA X 2019 3122 000 0000 CCS 999 M2 2019 08 2455 0WDDHS 96412 3230
   2K8J6H23J66C

       Increase: $17,516.95
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    Total: $17,516.95


SECTION 00 70 00 - CONDITIONS OF THE CONTRACT

The following Acceptance/Inspection Schedule was added for CLIN 0009:
      INSPECT AT                         INSPECT BY        ACCEPT AT     ACCEPT BY
      N/A                                N/A               N/A           Government


The following Acceptance/Inspection Schedule was added for CLIN 0010:
      INSPECT AT                         INSPECT BY        ACCEPT AT     ACCEPT BY
      N/A                                N/A               N/A           Government


(End of Summary of Changes)
